      Case 1:10-cv-01077-RB-WDS Document 230 Filed 07/24/12 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW MEXICO

STC.UNM,

                    Plaintiff,

       v.

INTEL CORPORATION,                              Civil No. 10-CV-01077-RB-WDS

                  Defendant.


     STC.UNM'S RESPONSE TO INTEL’S CROSS-MOTION TO DISMISS STC’S
               REMAINING CLAIMS FOR LACK OF STANDING

       For the reasons set forth in STC.UNM’s Rule 19 Motion To Correct Standing and

Request For Reconsideration (Doc. 218) and STC.UNM’s Reply In Support Of Its Motion To

Correct Standing And Request For Reconsideration, which will be filed on July 27, 2012, STC

opposes Intel’s motion. As established in the above, Rule 19(a) permits a correction of the

standing issue by adding Sandia Corporation as an involuntary plaintiff. Moreover, even if Rule

19(a) is unavailable, the equitable considerations of Rule 19(b) permit the action to proceed

without Sandia.
      Case 1:10-cv-01077-RB-WDS Document 230 Filed 07/24/12 Page 2 of 2




Dated: July 24, 2012                               Respectfully submitted,

                                                   /s/ Keith A. Vogt
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                               CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2012, I caused the foregoing to be electronically filed
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
via electronic mail to all counsel of record.

                                                              /s/ Keith A. Vogt




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